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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           :
                                           :
UNITED STATES OF AMERICA                   :
                                           :
      v.                                  :  Case No. 1:19-CR-00125 (ABJ)
                                          :
GREGORY B. CRAIG,                         :
                                          :
            Defendant.                    :
                                          :
__________________________________________:

              GOVERNMENT’S RESPONSE TO DEFENDANT’S
        COMPLETENESS OBJECTIONS TO GOVERNMENT’S EXHIBIT LIST
       The Government hereby advises the Court of the status of Defendant’s Completeness

Objections to the Government’s Exhibit List (ECF No. 89).

       The parties have resolved Defendant’s completeness objections on a number of the

Government’s exhibits.      The Government hereby advises the Court that the following

memorializes the parties’ understanding as to the status of certain Government Exhibits identified

in ECF No. 89:

 GX     Date                                       Resolution
 27    2/10/12    Admitted.
 29    2/13/12    Exhibit withdrawn.
 58    4/11/12    Exhibit withdrawn.
 65    4/17/12    Exhibit withdrawn.
 69    4/17/12    Exhibit withdrawn.


  70   4/17/12Admitted.
 110   4/19/12Admitted.
 112    5/7/12Admitted.
 113    5/7/12Government agrees to introduce GX 114 in addition to GX 113, but is not
              required to do so at the same time.
 116 5/10/12 Admitted.
 205 7/30/12 Admitted.
 358 12/11/12 Exhibit withdrawn.
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 GX      Date                                        Resolution
 540     ND       If the exhibits are introduced, the Government will introduce GX 540 and DX
                  94 in succession.


       The parties have been unable to resolve the completeness objections on the Government

Exhibits set forth in the table below. For the Court’s convenience, the Government has reproduced

the Defendant’s description of its completeness objection along with the Government’s response.

 GX     Date        Defendant’s Completeness Obj.                 Government’s Response
 200   7/30/12    In this email, Mr. Craig explains to      Manafort’s state of mind is not at issue
                  Mr. Manafort his major “concern”          in this trial, and his response is not
                  that the Ministry of Justice was going    relevant.
                  to create its own translation of the
                  report and “falsely leak a story that     Furthermore, DX 88 does not
                  ‘Skadden Finds Tymoshenko Guilty’         contribute      any     meaning       to
                  [or] ‘Skadden Report Exonerates           Defendant’s statement that the “worst
                  Ukraine,” because “[t]hat kind of         thing that could happen to the project,
                  story would be a disaster.” The           to this law firm, to your guy and to me
                  government intends to focus on the        would be to have someone on
                  last line, “We have to join arms to get   [Manafort’s] side falsely leak a story
                  something just a little more nuanced.     that ‘Skadden Finds Tymoshenko
                  Yes?” Mr. Manafort’s response in the      Guilty’ ‘Skadden Report Exonerates
                  complete string, DX 88, shows that        Ukraine.’ . . . We have to join arms
                  both Mr. Craig and Mr. Manafort           and get something just a little more
                  understood Mr. Craig’s question to be     nuanced.” In his response, Manafort
                  a diplomatic way of demanding that        does not address these comments by
                  Mr. Manafort take steps to prevent the    Defendant.         Instead, Manafort
                  Ministry      from     twisting    and    addresses only logistics (the timing of
                  mischaracterizing      the    Skadden     translations). GX 200 can be fairly
                  Report’s conclusions. Mr. Manafort        interpreted without the introduction of
                  proposed a way to ameliorate that         additional emails that take the
                  concern – by delivering a translated      conversation in a different direction.
                  version at the same time as the
                  English version, and delivering both
                  in hard copy. The need to admit only
                  the complete string (DX 88) is
                  particularly important given that Mr.
                  Manafort will not be a witness.
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GX    Date     Defendant’s Completeness Obj.                Government’s Response
566          In GX 566, Sergiy Vlasenko, Ms.         The Government will not suggest that
             Tymoshenko’s lawyer, posed a            Defendant did not respond to Mr.
             number of questions to Mr. Craig        Vlasenko. Rule 106 does not require
             about Skadden’s engagement, and Mr.     the introduction of all information that
             Van Der Zwaan responded that Mr.        relates to a subject, but only that
             Craig was traveling but would           information “that in fairness” should
             respond to Mr. Vlasenko “at his         be considered at the same time.
             earliest opportunity.” The complete
             string, DX 57, contains Mr. Craig’s     In addition, Defendant’s response is
             answers to Mr. Vlasenko’s questions     impermissible hearsay and Defendant
             and should be used instead.             cannot introduce his own statements.
577          This is an email string among           The exhibit at DX 92 includes
             Skadden personnel about an editorial    impermissible hearsay by a non-
             in the Kyiv Post raising questions      witness. Defendant cannot introduce
             about how Skadden had been paid.        the statement—“We do not offer this
             GX 577 is only part of the string.      kind of commentary up in [sic] usual
             In DX 92, the complete string that      circumstances – on or off the record.
             should be used instead, the head of     Negative or positive.”—for the truth
             marketing in Skadden’s London           of the matter asserted, and there is no
             office confirmed that Skadden could     other relevant purpose or hearsay
             only disclose such information          exception.
             if “the government” – Skadden’s
             client – authorized such disclosure,
             and added, “We do not offer this kind
             of commentary up in [sic] usual
             circumstances – on or off the record.
             Negative or positive.”


                               Respectfully submitted,

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Dated: August 11, 2019
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                                    Certificate of Service

       I certify that, by virtue of the Court’s ECF system, a copy of the foregoing Response to
Defendant’s Completeness Objections to Government’s Exhibit List has been sent to counsel for
the Defendant on August 11, 2019.


                                           /s/ Fernando Campoamor-Sánchez
                                           Fernando Campoamor-Sánchez
                                           Assistant United States Attorney
